        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

Debra Lott,                                   )
                                              )
      Plaintiff,                              ) Civil Action File No.:
                                              )
v.                                            )
                                              )
Radius Global Solutions, LLC,                 )   COMPLAINT WITH
                                              ) JURY TRIAL DEMAND
              Defendant.                      )
                                              )

                            PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and the Georgia Fair Business Practices Act,

(GFBPA) O.C.G.A. 10-1-390 et seq.

                                        PARTIES

      1.      Plaintiff, Debra Lott, is a natural person who resides in Bibb County,

Georgia.




                                         1
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 2 of 12




      2.     Defendant, Radius Global Solutions, LLC, is a limited liability

company and may be served with process via its registered agent, CT Corporation

System, at 289 South Culver Street, Lawrenceville, GA 30046.

                              JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter

alia, Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division

because the Defendant maintains a Registered Agent in Gwinnett County which is

in the Atlanta Division.

                               FACTUAL ALLEGATIONS




                                          2
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 3 of 12




      7.    Debra Lott is a 52-year old woman with deteriorating health. She is

disabled, suffering from chronic migraines, hypertension, and other physical

impairments. She is unable to engage in competitive employment, and is in the

process of obtaining disability insurance benefits through the Social Security

Administration.

      8.    Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical debt and is therefore, a “consumer”, as that term is defined by 15 U.S.C. §

1692a(3).

      9.    Defendant is a collection agency specializing in the collection of

consumer debt.

      10.   Radius advertises itself on its website as “...a leading provider of

account recovery and debt collection...” http://www.radiusgs.com/about-us/.

      11.   Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

      12.   Defendant is, therefore, a “debt collector” as that term is defined by

15 U.S.C. § 1692a(6).

      13.   As part of an ongoing effort to get her financial affairs in order, the

Plaintiff obtained a copy of her credit report as published by Transunion and

Experian on December 11, 2013.

                                        3
         Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 4 of 12




      14.    Defendant reported numerous accounts to both Transunion and

Experian as being in collection. Reproductions of these tradelines are reproduced

below,




                                       4
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 5 of 12




      15.    In total, Defendant is reporting $2,412.00 as being in collection

through it office.




                                       5
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 6 of 12




      16.    Not recognizing or being familiar with the accounts and deficiencies

as reported by Defendant Transunion, the Plaintiff initiated a telephone call to

Defendant on or about December 9th, 2019.

      17.    At that time she was informed by the Defendant that it was collecting

multiple accounts were being collected on behalf of Inpatient Services and totaled

$1,186.00, a figure far different than that being reported to the credit reporting

agencies.

      18.    Upon information and belief, Defendant made representations to the

Plaintiff offering a significant discount off the quoted balance of $1,186.00 but

informed her that the reduced amount would have to be paid during the month of

December and was subject to being revoked as the Defendant only had discretion

to reduce the balance based upon the depletion of a pool of discounted settlements

made available by the original creditor.

                              INJURIES-IN-FACT

      19.    The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health,




                                           6
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 7 of 12




Inc., 654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th

Cir. 2016).

      20.     An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      21.     Violation of statutory rights are not a “hypothetical or uncertain”

injury, but one “that Congress has elevated to the status of a legally cognizable

injury through the FDCPA.” McCamis, at 4, citing Church, at 3.

      22.     Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      23.     Accordingly, through the violation of Plaintiffs’ statutorily created

rights under the FDCPA, Plaintiffs have suffered an injury-in-fact sufficient to

establish Article III standing.

                                     DAMAGES

      24.     As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)     Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;

                                           7
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 8 of 12




      b.)      Uncompensated time expended away from activities of daily living, to

confer with counsel regarding the Defendant's collection efforts; and,

      c.)      Anxiety and worry caused by concern that she is being called upon to

pay an improper claim

                               CAUSES OF ACTION

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                               15 U.S.C. § 1692 et. seq.

      25.      Plaintiff incorporates by reference paragraphs 1 through 24 as though

fully stated herein.

Violations of 15 U.SC. § 1692e and its subparts

      26.      15 U.S.C. § 1692e specifically prohibits the use of any false,

deceptive, or misleading representations or means in connection with the collection

of any debt.

      27.      The use of “or” in § 1692e means a representation violates the

FDCPA if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674

F.3d 1238, 1241 (11th Cir. 2012).

      28.      The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

                                           8
        Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 9 of 12




consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir.

2010) (per curiam).

      29.    Moreover, the least sophisticated consumer is not to be held to the

same standard as a reasonably prudent consumer. The least sophisticated

consumer, though not unreasonable, is "ignorant" and "unthinking," "gullible,"

and of "below-average sophistication or intelligence," Pinson v. JPMorgan Chase

Bank, Nat'l Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir.

Nov. 12, 2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

      30.    The amount that the Defendant reported to Transunion as being in

collection and emanating from Inpatient Services, LLC is $1,226.00, or almost

50%, more than the figure communicated to the Plaintiff on the same accounts by

the Defendant. One of these representations, to the Plaintiff or to Transunion and

its subscribers, or both is objectively false and has left the Plaintiff confused as to

the amount she owes.

      31.    The Defendant’s representations that the reduced settlement amount it

was offering on December 9th was based upon a pool of funds allocated by the

owner of the debt that was subject to depletion by other debtors being collected




                                          9
       Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 10 of 12




upon was, upon information and belief, objectively false and misleading and

designed to create an “act now!” urgency in the Plaintiff.

      32.    The representations above violated 15 U.S.C. § 1692e, e(5), and e(10).

                                    COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                           O.C.G.A. § 10-1-390, et seq.

      33.    Plaintiff incorporates by reference paragraphs 1 through 24 and 26

through 32 as though fully stated herein.

      34.    O.C.G.A. § 10-1-390 et seq is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      35.    The purpose of the GFBPA, is to protect consumers from unfair

and/or deceptive practices in the conduct of any trade or commerce in part or

wholly in the state. O.C.G.A. § 10-1-391.

      36.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15

U.S.C. § 45(a)(1), which implements the FDCPA.

      37.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.




                                            10
          Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 11 of 12




      38.      Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      39.      Defendant’s conduct has implications for the consuming public in

general.

      40.      Defendant’s conduct negatively impacts the consumer marketplace.

      41.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

      42.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-

399(a).

      43.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

      44.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

      45.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                           11
       Case 1:19-cv-05861-SDG Document 1 Filed 12/31/19 Page 12 of 12




                                   TRIAL BY JURY

      46.      Plaintiff is entitled to and hereby requests a trial by jury.

WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:

a.)   Plaintiff’s actual damages;

b.)   Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)   Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

d.)   General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

      & (c);

e.)   Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

      and

f.)   Such other and further relief as may be just and proper.

Respectfully submitted this 31st day of December, 2019.


                                      BERRY & ASSOCIATES

                                          /s/ Matthew T. Berry
                                          Matthew T. Berry
                                          Georgia Bar No.: 055663
                                          matt@mattberry.com
                                          2751 Buford Highway, Suite 600
                                          Atlanta, GA 30324
                                          Ph. (404) 235-3300
                                          Fax (404) 235-3333

                                          Plaintiff’s Attorneys

                                            12
